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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                    )
                                                             )                8:07CR290
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
GANNY T. PARKER,                                             )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Ganny T. Parker
(Parker) (Filing No. 25). Parker seeks until October 31, 2007, in which to file pretrial motions in accordance
with the progression order (Filing No. 10). Parker's counsel represents that Parker will file an affidavit wherein
he consents to the motion and acknowledges he understands the additional time may be excludable time for
the purposes of the Speedy Trial Act . Upon consideration, the motion will be granted


        IT IS ORDERED:

        Defendant Parker's motion for an extension of time (Filing No. 25) is granted. Parker is given until
on or before October 31 , 2007, in which to file pretrial motions pursuant to the progression order. The ends

of justice have been served by granting such motion and outweigh the interests of the public and the

defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between October 18, 2007 and October 31, 2007, shall be deemed excludable time in any computation of

time under the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).


        DATED this 18th day of October, 2007.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
